             Case 1:05-cv-02999-RDB Document 2 Filed 11/08/05 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


ODIS SMITH, #82469,                                *
           Petitioner
                                                   *
        v.                                             CIVIL ACTION NO. RDB-05-2999
                                                   *
STATE OF LOUISIANA,
           Respondent                             *
                                               *******


                                   MEMORANDUM OPINION


        Petitioner is an inmate confined in the Washington Correctional Institute located in Angie,

Louisiana. He seeks a writ of habeas corpus pursuant to 28 U.S.C. § 2254. Upon review of the

Petition, the Court concludes that transfer of this Petition to the proper federal court located in

Louisiana is appropriate.

        This Court “in the exercise of its discretion and in furtherance of justice" may transfer

Petitioner’s application for writ of habeas corpus to “the district court for the district within which

the State court was held which convicted and sentenced” Petitioner. 28 U.S.C. § 2241(d). Petitioner

attacks convictions entered against him by the Twenty-second Judicial District Court, Parish of St.

Tammany, Covington, Louisiana. (Paper No. 1). All of the records pertaining to these convictions

are located in Louisiana and Petitioner is incarcerated in Louisiana. Petitioner has no readily

apparent ties to Maryland but rather has filed the petition in this Court under the mistaken belief that

as a result of Hurricane Katrina the federal courts for the district of Louisiana are not accepting

pleadings. Petitioner is currently incarcerated in Washington Parish, which is located within the

jurisdiction of the United States District Court for the Eastern District of Louisiana. In light of the
            Case 1:05-cv-02999-RDB Document 2 Filed 11/08/05 Page 2 of 2



foregoing, this Court shall transfer this case to such other court for hearing and determination as

deemed appropriate.1 See 28 U.S.C. § 1404.

        A separate Order follows.




Dated: November 8, 2005                           /s/
                                                       RICHARD D. BENNETT
                                                  UNITED STATES DISTRICT JUDGE




        1
          Petitioner has submitted a motion for leave to proceed in forma pauperis. Because this case is being
transferred, a ruling on Petitioner’s filing status will be deferred.

                                                        2
